CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

EXH|B|T A

 

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Etitet’ed 09/25/17 10216:55

 

lnterest:First;“' NOTE
rely 13,21)01 sour'rt rrun'mtorott N't‘
inlet tcm treat
15 Yellow Tnp i’.a
sonoma try 11163
theme hddr=ni

1. BORROWER‘S I'RUMISE 'I'O PA.\'

In return for tr loan that Ihrrre received lpromise to pay U.S. $ 668,000.00 (this mont la called "Print:ipal'].
plus home to the order of the l.endcr. The Leoder is
JPMorgan Ciraee Benlt. N.rt.
a bank which is organized and existing under the laws of the United Statee ofAmerica
Iwiil makentl paymentsunderthis Note in thefon'n of eustt. checker money order.

lunderstand that tkeLender may transfer this Note. Thelznder or anyone who takes this Nnte by transfer-and who ia
entitled to receive payments under this Note is called the ‘Note Holder."

2. `INI'ERESI`

In'tereat will he charged on unpaid principal until the foll moment of Ftiocipal has been paid. I will pay interest at a yearly
rare of 6.375 %.

'l'he interest rate required by this Scction 2 're the mtel will pay both before and after atty default described itt Section E(B]
of this N'ote.

3. PAYMB|TS

(A] Tl-e and l'iace ofPaymenis

l will make a payment every month. Thie payment will bc for mercer only for the tim 120 months, and then will
consist oi'princlpal ami interest

Iwr`ll maine my monthly payment nn the Firet day ofezch month beghnring on September let 2007 . I witt

make there paymenta every month until I have paid eli of the Prim:tpal and interest and any other charges described below thatl
may owe under thin Note. Eaeh monthly payment will be applied as of ite scheduled doe date. end if the payment includes both
principal and interest it l.yt|l be applied to interest before Principal. If. on Au,guat 1, 2037 , letiil owe amouan
under this Noh:. Iwill pay those amounts in full on that date, whlch itt called the "Matrn'ity Dnte."

Iwill make my monthly payments et J'PMorgan Chase Banlt. N.A.. c)'o Chaae Home Finartce. I.LC

3415 Vision Driye. Coiumbus. OH 43219 nrdc a different place if requlred by the Note Hctlder.
(B} mount ofMontbly l'aymenta
My monthly payment will be in i:hca.mounl of U.S. $ 3,543.75 for the fitsl 120 month of this Note,
end ther-echel- will be in the amount ofU.S. $ 4.931.40 . 'I'he Note Holder will notify me prior to the date of
change in monthly payontmt.

4. BDRROWER'S RIGH'I' 'I'O PREPAY

I have the right 'to maine payments ofPrint:ipal at any time before they are due. A payment of ?rincipai only le brown ns a
'Prepayment.“ Wben I make a Prepayrnent. I will tell the Note Hoider in writing that 1 am doing eo. I may not designate a
payment as a hepayment itt have not made all the monthly payan doe under the Note.

l may make a toll Prepnymnnt or partial 'Prepayrnenor without paying n prepayment charge Tin: Note Holder will use my
Prt:paymenra to reduce the amount of ?t'int:ipal that I owe under this Noee. However, the Notc Ho|der may apply my
Prepoymcnt to the accrued and unpaid interest on the 'Prepaymont amount, before applying my ?tepayrnent to reduce the
Pr|nctpal amount ofthe Note. lt`I make a partial Prepayment, time will be no changes in the due date ofmy monthly payment

NEW Vttlitt tnnmatt=tut FtltED RATE illoTE-Biootn Fmtlly-annio litton uNiFnHM tNS"rltttMEh‘T

~Bod|'ttili\'t mart Form 32?1.33 1101
wm thomas rowe - mrotrzr.)aat

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

unless tba Note Holder agrees in writing to those changed However, iftbe partial Prepaymanl la made during tire period when

mr monthly umw cormier only of hileraat. the amount of tire moorny payment win decrease for tire mercer of tire tenn

when my payments consist only of briereet rra well ar during Ilre time that my payments consist of principal and intoreat. If the

partial Prepaymmrt is marie durhrg the period when roy payments consist of principal and interest, the anrotrrtt of my monthly

garment will not decrease; bnwever, the principal and the interest required under this hiotc will be paid prior to tire Matnrrty
ele.

   

5. LOAN CEARGES

l'.fa law, which applies lo thin loan and which ceta maximum loan oharges. is finally interpreted ao that l.bc interest or other
loan charges collected or to be collected in connection with this loan exceed the pennilhed llmita. there {a) any such loan charge
ahail beredu:ed by the amount neeaeaary to reduce the charge to rhepermitted limit; and (b) any sums already collected from
me which exceeded permitted limits will he refunded to rne. Tbe Nor.eHolder may choose to make lhia refund by reducing the
Pn'nclpal l owe under this Noie or by cooking a direct payment to me. lf a refund reduces Frincipni. the reduction will he treated
aa a partiall’repa}'merrt.

6. BOI{ROWER‘S FAILURE TO PA¥ AS REQUIREU
[A} late Charge for Gverrlrre Paymenta

lfilreNoteHoldarhasnotrmeiveddrewarnoontofanymomhlypaymenlbylheendofl=ifleen micnda.rdays
after tbe date it ia rlue. I will pay a late charge to the N'ote Hoider. 'Ihe amoran of tire charge will he 2.000 % of
my overdue payment oi' internat and!or principal and intanat. l will pay this late charge promplly but only once on uch late
t.
{B} Det‘rar:lli
IfI do not pay the li.tl.l national ofear.'.h monthly payment on the dale it is dnc, l will be In del"a.oll.
{C] Norice of Del`ault

Ifl am in deliaulr, the Note Hclder may send me a written notice telling me that iff do nor pay the overdue amount by a
certain date, the Nore Hoider may require rne to pay immediately the liqu arnolrnl of?rincipal which haa not been paid and all
the interest matloweontiratamouot. Thar rhrte mrntbeatleost 30 dayraherlhe date on whiebtbenotioe£smailedto meor
delivered by other means.

{D] No Waiver By Not.e Holder'

Bven if, at a time when l am lrr delimit, the Nolc Hoider does not require me to pay immediately in litll. as described
above, tire Note Holder' will still have the right to do so lfl arc in do§rrlt at a later rime.

(E) Payment ofl\lote Eoldet"a Coats and Elrpenaes

Iftlre Note Holrler has required me to pay immediately in full aa described above. the Note Holder will have lhe right to
be paid back by mr for all of its com and expenses in e.olbrt:ing this Notc to the extent not prohibited by applicable law. 'l'hose
swenson ioclrrde, for ample movable attorneys‘ fees.

"l’_ GIVING OF NOTICBS

Uolesa applicable law requires a diil°creur method. any notice that must he given to me under this Note will be given by
delivering it or by mailing lt by first class mail to me at the ?mperty Addresa above or ar a different address ifl give the Note
Holder a notice ofrny different nddrenr.

Any notice that must he given to the Note I-Iolder rader this Nore will be given by dellvelji;og il or by mall|ng it by tim
class mall to the Noto Hoider' ar the addreaa stated in Serxioo 3[.‘\) above or at a different addrem ifI am glven a notice of that
d.'tffer'trr:lll addresa.

B. OBLIGAT.[O'NS OF PERSONS UN]JER TH!S NOTE

!frrrore than one person signs this Nore, each peraon is fully and personally obligated to keep all of the promises made in
this Note, including the pmmi.ae to pay the full anroant owed. italy person who ia a guaronror, surety or endorser of this N!ole is
alan obligated to do l.heac l.hinga. Any person who takes over these obligationa, including the obligations ol' a guarantor, surety
or endorser of this the. la also obligated to keep all of tile promises made in tbia Note. 'l'he Nole I-Iolder may enforce lie rights
under this Note agoi.osl each person individually or against all oftra together. ’l'his means that any uncoqu may be required w
pay all of tire amormrs owed under this Note.

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

 

9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presenment end Notiue of Di,rhonor.
"Presentmenl" mem the right to require the Note Hotder to demand peyth of amounts due. "Notir:e ot`Dishonor" means lhe
right to remain the Noee Holder m give notice to other persons that amounts due have mt been paid.

1ll. IMFORM SECU'RED N(JTE
Tbis Note is a uniform basement with limited variations i:ll some]urisdir.tlom. I.n addition to the protections given to the
Note Hoider under this Notel a Mortgae€. Deed of Trust, or Seetn'ity Deed [the "Seeurity lmtrtlment'}, dated the rome ute as
this Note. protects the Note I-Ioider from possible losses which might result if l do not keep the promises v&ril:h Imait:e' m this
Note. That Seeurity Ioatrument deserihis how and under what conditions I may be required to make immediate peymettt` m wit
ofa.ii ammnuloweundermis Note. Some ofthoee whditi.omeredesm'ibedaswl.im:
lenderrrm;yrequireimmediatepayment iofullofall Soms Ser:u.redby this Sect:rityimmtmeni ifallot'
any part of the Pxoperty, or if any right tn the Properry, is sold or transferred without lemer's prior written
permission. if Borrower le not z natan person anda butetieinl interest in Borrower is will or transferred
without Lt:nder*e prior written pecmiselon, bender also may require immediate payment in full. I{owever,
this option shall not be exercised by Leud.er if such unwise is prohibited by Applir.ah!e Law.
if lender requires immediate payment in full under this Seetion lB, bender wll.l give me a mckee which
states this requirement Ihe notice will give me at least 30 days to make the required paymimt. The ito-day
period will begin on the date thenctieeis given tomeintheuntmerrequired'ny$u:tion 15 ofth!sSer:urity
losttttmeot. If I do not make the required payment during that period, Leoder may act to erd'on::e its rights
meter this Security losrrnment without giving me amy further notice or demand for paymenr.

WI'INESS TI'IE HAND{S] A`ND SEAL(S) DF THE UN'DERSIGN'ED.

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

 

 

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STATE OF New York}
)ss:

CD[R\TT¥ OF Sul`folk]

011 Jllly 13. 3007. before me, the tmdereigned, personnlly appeared GHAN.[ II. RIZWAN and EHAZ[A ?. R]ZWAN
, personalty brown to roe or proved bo mo on the basis of satisfactory evidenoe to be the individuals whose names are
subscribed to me within instrument and acknowledged to me that heleher'l:hey executed the same in his{he.r:ftheir mpeoit:iee
and that by hidhort'tbeil: signatures on the instrumeni, the i.ndividt\als, or the person upon behalf of Wh.ich the individuals
aeted, executed the instrument

" Notar'y Pt\biio
N"'“" @YN meade Y“E
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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

Allonge to Note

Lmr-

Borrower: Ghoni H. Rizwan
Shazia P. R.izwan

Address: 15 Ye]low Top La
Smithtown,NY 11763

Loan Amouut: $668,000.00

Allonge to one certain note dated July 13, 2007 and executed by Gha.ni H. Rizwan and
Shazia P. Rizwan.

Pay to the order of its Suooessor
and!or assigns without recourse in any event.

 

Without recourse
JPMorgan Chase Bank, N.A.
wm mohawk
'I`ype l Printed Name of Signor: KIM MONE
Type f Printed Title of Sigoor: ASSISTANT §EQBMY

 

 

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

EXH|B|T B

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

 

SUFFOLIC COUNTY CLERK.
RECORDS OFFICE
RECORDING PAGE

Type of Instrument: MORTGAGE/M Recorded: 08/03/2007

Ndmber of Pages: 19 At: 09:26:44 AM

Receipt Nu.mber : XX-XXXXXXX

MORTGAGE NU'MBER: CYD36205 LIBER: MODOZ].ST'I
PAGE: 814

Distriot: Sec:t:ion: Block: Lot:

UBDU 132.00 05.00

__0 0.000
EXAMINED AND cHARGED ns FoLLows-:*~W* =-
Mbrtgaoe Amounv= $sse,ooo.oo .

    

Received the Following Fees For Abcave Inst.rument - -. .. -' .. ' .
Exempl: Exempt

Page/Filing $57 .00 NO I-Iand]_ing $5. 00 NO

COE $5.00 ND NYS SRCHG $15.00 NO

A:Efidavit $0 . 0 0 NO Cert . Copies $D . 00 ND

RPT $30.00 NU SCTH $U.DU NO

Mort.Basic $3,340.00 NO Hort.Addl $1,974.00 NO

Mc\rt .SplAddl $0 . 00 NO Hort .. SplABBt $1. , 670 .00 NO
Fees Paid $7,096.00

MORTGAGE NUMBER: CYDBEZB§
THIS PAGE IS A PART OF THE INSTRUMENT
THIS IS NOT A BILL

Judith A. I-"aacale
County Clerk, Suffalk County'

 

Case 8-17-74291-|as DOC 8-2 Filed 09/25/17

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E`.A-§Z 11 [Counly] ___ Suh Toml

EA-szn (s¢m.»)

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Spee. Mdd. ____
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TOT. MTG. TAX 123 i;."|
Dual Town Dunl Counly
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Transfer Tax ` f
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oHCD 13200 GEDD 0100€|0
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S'u'j_"i"olk Courlty Reoording & E:fldors emth Page

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To ‘
~J’l"’ va_¢;.~n Chvs¢ Baqr.,v.a

 

 

SUF`FOLIC COUN'['Y, `N'EW YORK
ln §he Townsllip of _Sm‘¢"}\.rp w r\

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cnmi-rr or m.-Yh+m..._

 

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

 

IMPO].'€.‘I`.A."lll'l`l NO ICE

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ll' Lhe document yuu'vr. just recorded ls your E_LL!§E_ TlDN OP DRT A , please be aware of

=.|1¢: following

ll a purl|ml of your monthly mortgage payment included your property La.x¢:s, * u will n w l: d ill

gmm;,-l your lug;g|_’__lfg__\gg;l'gl:_l§gge_iy_e_r_§g__ll; l.l a lie bilal root l'al l 11

slatem§nl§,

l.u-..-al properly taxes are payable twin a year.- nn or before January llJ“‘ ami on ur before May 31".
l"ali\\re Lo maer payments in a timely fashion could result in a penalr_~,r.

l1le::se contact your local "['own Tax llece'lver with any questions regarding property tax

puymenl:.

Bahylon 'l'oum llccelucr of 'l'axes
2,:]~| blast Sum'lse. Higllw‘ay
Norlll l..lr:denhursl. N.\". 1 1757
{6311 957-5004

E|roclchaven ‘I`uwl‘l Recewl:r af 'I`axes
350 East Maln Sl;reel

Pul'l Je|'i'craon. N.Y. 1177?

lEEl} 473-0236

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300 l=anugo Plaec

Easl l-lampl.on, N.Y. 11937

llSBl| 324¢2??0

Hunl:lngl.on Tow'n 'Recelver ni.' Taxcs
100 Main Sl.rel:t

HLuilll'\gion. N.\'. 11743

l,G'Sll 351-3217

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153 L,ll 2211-5580

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200 i-lowell Avenue

Rwerl\ead. N.¥. 1190l

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Srnllhlown ‘l‘own Recelver of Taxes
99 Wesl. Nl'o.in Slrl:el.

Emllhlown. N.Y. 117&7

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Soull'lumplorl.N.`l'. 1196{:\

[651} 233-6514

»Southolcl Town Receiver of Tmr.es
53095 MBll‘l Sl`.rec’.'l
Southola']. N.Y. llg'?l
[631 l 785-1803

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

 

Rcl'l.l.m Ti'.l:

JPMorgan Clmse Cusl.ody Ser\lines
P.D. Box 8000

Monme. LA 7121|

Prepamd By:

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MORTGAGE

WDR.DS USED OF'TBN lN THIS DGCUMEN!`

(A} "Se:urfly Inslnl.mml." Tl:ls docwml. which is dated July 13, 2007
regular wth all Riclers le wis docl.u'ncal. will be called ldc "Securily lnsmm:ol.'
lB] "Bnrron'er."

Ghani H. Rizwa.n

Shazia P. Rlzwa.n

whose address is

d-l] Casll: Ln. szitlown. N`Y 11156

sometimes will be mild “Bocrower° and seriatim simply "I' or "me.‘

(C} “Lender.'

IPMorgan Ctrase Benl:. N,A-

will llc called "Lender.' Lenller is a corporation or associal|uo which exists under the laws of

the limited Smes of monica . lend¢r‘a address is
ll ll Po|alis Parlrway. Columbus. OH 43240 .
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nga l al 11 welsh
we liona-g- sdum, lu-_ lillian i-ns:

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Erltered 09/25/17 10216:55

{D} "Nole." '[ltc note signed by Borl't.'lwer told dated luly 13. 2037 . Wili be called
the 'Nore.' The Note shows thatl owe L,ender Six hundred sixty-eight thousand and 001100

Dollars (U.S, 8 EBB,DO0.00 ] p[trs lnterest
and other amounts that may be payable. I have premised to pay this debt in Periodlt'. Payrucnts andl lo pay
the debt to hill by August 1, 2037 .
{E) "Propmy.“ Tbe property that is described below in the section titled 'Description of the Properry.'
will becalled the "Property.”

[¥} "Loao." ’l'he 'hoan' means tire debt evidenced by the l~iol.e. plus lnterest. any prepayment charges and
late charges due under tire Nott:. and all sums due under this Securlty lnstrnrrrent. plus interest

{G] "Sums Seeu.red." 'Ilte amouan described below to the section titled "Borrower's 'l'ransl'er to lender of
Rigbls in the Properry' sometimes will beealled the "Sunrs St:eured."

(Hl "Riders.“ All Riders attached to this Seoority lestrummt that are signed by Btn'rower will be called
‘Riders." The following Riders are to be signed by Borrower [checlr hon as appliesble}:

adjustable san ann |:l condominium nine second stone order
Balloon Rider l'la.rmed Uro’t Deveiopnrent Rider l-¢ Fa.mily aider
Wt Rider Biwcek.ly Payrnent littler Cll.hel(s] [SPet:ify]

t`l`] "Applic.oblo Law." Al| controlling applicable federal, state and local slatotes. regtriations, ordinances
and administrative rules and orders (tltat have the cll‘cet of iaw] as well as all applicable final‘
non-appealable judicial opinions will be called "Applimbie law. "
(I} "Commuaily Associatlon Dues. Fees, end Assossments.' All dt.\es, fees. assessments and other
charges that are imposed on Borrower or the Property by a condominium associarien, homeowners
association or sinu'lar organization will be miled "Con'tmun.ity A.\e.ocialion Dttes. Fees, and A.ssessmerrrs."
{K] "Electrrmle }vnds Trnnsfer." "Elet:ttonic Fllnds 'l'ransfer" memo any batteries of monoy. other than
by check. draft. or similar paper inslotment. which is initiated through an electronic termirtsl. telephonic
instrumeoi, cornptttt:r. or magnetic tape so as to order, iestnret. or authorize a forant:ial institution to debit
or credit an aecorrnt. Soroe common examples of an Electron.ic Furtds 'I'ran.ster are point-ol'-sale transfers
(wirt:re a card such as an asset or small card is used at a orerehant), automated teller nwchlne (or ATM}
tmnsaetions. transfers initiated by telephone wire oansfers, and automated clearinghouserrartsfeta.
(LJ "B.scro\r lteros." Those items that are described in Section 3 will be called "Escrow 'ltc.ms.'
(M} "Mst:ellrr.neous Prooeteds." 'Mist:ella.ltoorrs Prooeetls' means a.n)¢l oompeneation. settlcrutn'tt. award ol'
dan-ragen or proceeds paid by any third party (otlrer than Insurance Proeeeds. ns delined ln, and paid under
the coverage described ln Socrion 5} for: (l] damage to, or destruction of, the Property; lli} Conderonation
or other taking ol` all or any part ot‘ the Property; {i`ri) conveyance tn lien of Condernnation or sale to avoid
Condernnatlon; or fiv} misrepresentations ol'. or omissions as to_ the value andior condition of the
Property. A taking of the Property by any governmental authority by eminent domain is known as
‘Comieornation."
(Nl “Mot'tgage Iosurant~.e." "Mortgnge lnsuranoe" rrrearrs ironta.nee protecting bender against the
nonpayment of. or default on. the Loa.n.
(OJ "Periodle l’ayment.*‘ Ttre regularly scheduled amount due for (,i} principal and interest under the
Note. and [t‘il any amounts under Sectlon 3 will hcca.lled ‘Periodit: hyment."
(P} "RESPA." "`RESPA` morris the Real Estate Settlemenr Frocedtnes Aer (12 U,S.C, Scctien 2601 et
mq.,'t and its implementing regulation. chttlat.ion X [24 C.F.R. Pa!i 35¢|`.\). as they might be amended
from time to time or any additional or successor legislation or regulation that governs tire same subject
marter. As used in this St:t:urity lnstrurrrent, "RESPA‘ refers to all requirements and restrictions llurt are
imposed lrr regard to a "l'ederally related mortgage loan' even if the loan does nor qualify as a "lederaily
related mortgage loan’ undu' RESPA.

.m.,§g_,

@‘Blh|?l wooa],os hen lt er 1! Forrn 2033 1101
c c id

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

BORROWER‘S TRANSFER TO LENDER OF RIGHTS IN 'I'HE PROPEIITY

I mortgage grant and convey the Pmpeaty le LG:ler subject to the term of this Secttrity lmnent.
’l`bls meals that. by signing this Sccurity lrtmurnent. l am giving Lender lhtzse rights that are
stated in this Seetu-lty Instrurnent and also these rights that Applloabie Law gives to lenders who hold
mortgages on real prope:rry. I a.rn giving Ixnder these rights to protect Lmder from possible lessee that
might reattit if I fail to:
(A) Pay all tile ameth that I owe LGder as stated in the Nhte including but not limited to. .'tll mwals.
extensions and mudilicatidns of the Note;
[B) Pay, with interest. any amounts that l.ender spends under this Secttrity lmltument to protect the value
oftthmpen;y and Ixodet's rights in the FNPHW: all
(C) Keep all army other promises and agreenzm.s under this Security Imtmcnent and the Nate.

DESCRIPTION DFTBE PROPER.'I'Y
l give tender rights in the Pmperty described in {A} timing (G) below:
(A] ‘l'be Property wlu'td:t is located at

ls Yellow Tnp La tsumj
Smltbtnwn ram mn or vov¢et. New York 11763 lztp caa¢i.
’I'his Propen'y is in SU`FFDLK County. lt baslh.e following legal
ducdptlun:

See Sebedu|e A Atracbnd

(B} All buildings and other improvements that are located un tile Pmp¢rty described in subsection {A) of
this sodium

{C) All rights in other property that l have as owner et' thc Prepetty described in subsection tA) of this
inactionl Tht-.se rigth are drawn as "easemmts and appurtenances attached to tire Pmpeny:"

(D} All rights that l have in the land which lies in the streets or roads in front af. or next to. the Pmperty
ducribed in subsection (A) of this section;

(E) Nl lixn.:res that arc now or i.n the forum will be tm the Pruperly described in subsections (A) and (B)
of this section;

(`P) Nl of the rights and property described in subsections (B} ill-lqull {E) of this section that I acquire in
tbe fumre; and

(G) A]l replacements of or additions to the property described in subsectiom {B) through (F) of this section
and all Insurancc Frneu:ds for loss er damage tu. and all Misccllaneous Pmemds et tim Ptoperty described
in subsections (A) through (F) nflh.is section

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

East Coaat Abstract, lnc.
as authorized agent for:

Chica'go Title insurance Company
Schodulo A Doscripllon

i.lndarwrllor No.
Titio Number Paga 1

AMENDED 6)‘28}2307

Al.l. that certain plot_. piece or parcel of land together with the buildings and
improvements thereon eracted, ailuatc. lying and being known and designated as Lot
20 on a certain map entitled ”Yellow Top Farrna Soollon l". at Srnithtown, Town of
Srnlthtown. Suifoilr County, New York and died in the Oflice of the Clcrl<, Counly of
Suh‘olk on 9.~'15!03 file #10999: bounded and described as according to said map as
follows:

BEGlNNiNG al a point on the easterly side of Yaltow Top Lanc distant generally.
easterly, northaaatariy, and northerly along the southerly. coulheaclerly. and easterly
sides of thlow Top t.ane. 922.04 feet from the corner formed by the intersection of
the southerly side of Ye||ow Top Lanc with the easterly side of Plaiatad Avanue;

RUNN|NG THENCE northerly along the easterly side of Yollow Top Lane the
following two courses and distanceo:

‘l. northerly along the arc of a cuer bearing to the left having a radius of 315.00 fact
distant 29.36 fecl; -

2. north 05 degrees 34 minutes 32 seconds west ?’O.EB feet to the division line
between Lots 19 and Lot ZU;

THENCE north 54 degrees 25 minutes 28 seconds cast199.26 feet;

THENCE south 39 degrees 13 minutes 06 seconds cast1 11 1 .43 feet;

Ti-|ENCE south 50 degrees 46 minutes 54 seconds west 12.98 feat;

THENCE south 84 degrees 25 minutes 28 seconds west 251 .EB feet to the easterly
side of Yellow Top Lane the point or place ci BEGINN|NG.

Said promises being known as 15 Yellow Top Lanc, Smithlown. N¥

orsrnrcr coco sacrrou 132.00 ctch os.no torr'rnx Lor1o- r=lLEo Lor
20)

DlSTR|CT 300 SECTION 132 B[OCKUG l.OT 10

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entei’ed 09/25/17 10216:55

BORROWER'S RIGH'I' ‘['D M.OR'I'GAGE THE PROPERTY AN|] BORRDWER‘S DBLlGA'l'lON
TO DEFEN`D DWNERSH]P DF THE FROI’ERTY

l promise that: (A) I lawfully own the Property; (B) l have the right to mortgage grant and convey
the Properry to Lendet; and (C) ¢hete are no outstanding claims or charges against the Property, accept for
those which are of public recont.

Igivc a general warranty of title to Lender_ 'l'his means that l will he fully responsible for any losses
which bender suffers because someone other than myself has aetna of the signs in the Property which l
promise that l have. l promise that l will defend my ownership of the Properry against any claims of such
rlghts.

PLAIN LANGUAGE SECURITY WSTRUMENI`

'Ihis Soouriry Instnu'nent contains promises and agreements that are used in reel property security
instruments all over the munu'y. ft also contains other promises and agreements that vary in different parts
of the country. My promise-sand agreements are stated in 'p|ain language.'

CO\'EN»\NIS

l promise and Iagtee wild Lendcl' as lhllows;

l. Berrnwer"s Pt'omlse to l'ay. l Wlll pay to l_endcr on time principal and interest due under the
Note and any prepaymmt, tate charges and other mounts due under the Note. l will also pay all amounts
for Escmw trans under Soetion 3 uf this Securiry lnsu'ument.

Fayments due under the Note a.nd this Sccr.rrity lmtn.r.menl shall be mlde in U.S. t:llrr'cr'tr:yr lf any of
my payments by ehwir or other payment instrument is reduced to Lcnder rmpaid. I.ender may require my
payment he made by: {a} cash: (b} money ordet; (c} certified check. bank chook. unsound check or
cashicr's checlt, drawn upon an institution whose deposits are insured by a federal agency, instnmmtality,
or eariry; or (dt Elecrronic Funds 'll'r.msrer.

Faymenls are deemed received by Lender when received at the location required in the Note, or at
another location designated by Lmrler under Sectiun 15 of this Security lmrnuoent. Lmdcr troy return or
accept any payment cr partial payment if lt ts fur an mount that is less than tire amount charts then due If
lender accepts a lesser paymmt, Lendw may refuse to accept a lesser payment that 1 nay make in the
future and does net waive any of ils rights harder is not obligated to apply such lesser payments when it
accepts such paymenrs. If interest on principal accruesas if all Periodjc Payments tod been paid when due,
then Lender need not pay interest on unapptied timds. I.ender may hold such unapplied fl.mds until l make
payments lo bring the loan cumml. if l do not rio so within a reasonable period oftime, Lendcc will either
apply such hinds or return lhem lo me. In lhe event of foreclosure any umpplied funds will be applied to
rhe outstanding principal balmce immediately prior 1a foreclosure No offset or claim which l might have
now or in the future against l.mdcr will relieve roe from making payments due muller the Nole and this
Securiry lnstm:nenr or keeping all or my other promises and agrennents secured by this Secuttty
lastt'ument.

2. Appl|eal.ion of Borrower's Faymmts and hamm Pmneeds. Unless Applicattie Law or this
Section 2 requires otherwise, l..ender will apply each of my payments that l.t:ur|er accepts irl the following
order:

Fi.rst. to pay interest due under the Note:

Next. to pay principal due under the ‘Note; and

Ne>tt, tc pay the mounts due lender underscctlon 3 or this Secttrity lnslntment.

Such payments will he applied to each Pcriodie Payment in the order in which ir became due.
duty containing amounts will he applied as follows

First, to pay any late charges

Nesr. to pay any other amounts due under this Sccurtty lnstrument; and

Ncal, to reduce |hc principal balance of the No:e.

Q.srmn income wm n ram anna not

mri£._
é'l/,_

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

ii tender receiver a payment from me for a late Pcriudic Payment which ineiudet a sufficient amount
to pay any late charge due. the payment may lie applied to the late `Pen'odic Payment and the late charge. if
more than one Pcriodic Paymenl is due. bender may apply any payment received from met First. to tbc
repayment of the Periodic Faynrents that are date i[. and to the extent tlt.atl each payment can he paid in
fttll; Nettt. to the extent that any excess exists after the paynent is applied to the full payment of one or
more Per‘todic Paymettts. such excess may he applied to any late charges due.

Voluntary prepayments will bc applied as follows: Pt`rst. to any prepayment chatges; and Nettt, as
deocrihed in the Not.e.

Any application of paymenrs, lth'.urancc Procecds. or Mist:climteous Proeeeds to principal due under
the Note will not extend or postpone the due date ot the Periodic Payments or change the account ot those
payments.

3. 'Moathiy Payments For ’l"arto And lnsurnuee.

(n] lorrowet"s Ohllgat.ions.

I will pay to lender all amounts necessary to pay for ta.ttts. assessments, water charges. sewer rents
and other similar rharges. ground leasehold payments ot rents {lf any]. hazard or property instuance
covering the Fropert'y, flood insurance (il` any)‘ and any requlred Mortgage lnsu.ntnoe. or a l.t'.\ss Rcserve
as described in Section 10 in the place ot Mortgage insurance Eacb Pedotlic Paymettt will include an
armour to he applied toward payment of the following items which are called "I~`.tcrow Items:'

(t) 'l'he taxes, assessments water eharges. sewer rents and other similar chargtz, on the Prupert'y which
under Applicable law may be superior to this Secu.rity instrument as a Lien on the Property. Any claim.
dennard or charge that is made against property because an obligation has not been fulfilled is known as a
‘Lien;"

(2) 'l'i.te leasehold payments or ground rents on the Pt'opct'ty iii any);

(Z}The premium for any and all insurance required by Lender under Seclion 5 of this Secutity Instntntent;
{4) Thc premium for Mortgage insurance [if any);

lS) The amount 1 may be required to pay Lendcr'under Soelicn 10 ofthis Security Iustrument instead of the
payment of the premium for Mrntgage Insmancc tit any): and

(6) lf required by Lendcr. tire amount for any Comrnonity Associatlon Dltes, Fees. and A.ssetsmentn.

After signing the Note, or at any time during its term, bender may include these ammts as F_serow
items. The mututh payment l will make for Eserow treats will he based on lenders estimate of the
annual amount required.

l will pay all of these amounts to Lender unless lender tells me, in writing. that I do not have to do
so. or urdeas Applica.ble t.aw requires otherwisel 1 will unite these payments on the same day that my
Fetiodic Payhtcnts of principal and interest are due under the Note.

Thc arnounts that i pay to Lender for Esetow items under this Seczlon 3 will be called "En:tuw
Funds." i will pay lender the Escrow Funds for Esctow I.tetns unless bender waives my obligation to pay
the Eserow Funds for atty or ali F.scrow ltettts. Lendur may waive my obligation to pay to lender F.'tcrow
thds for any or all Es::row items at any lime. Any arnett waiver nntst be in writing, ln the event ol`such
waivcr, 1 will pay directly, whett and where payable the amounts due l`or any E.sctow Itettts for which
paymmt of Escmw Funds has been waived by Lender and, if Lender reqdites. will promptly send to
Lender receipts showing such payment within such time period as lender may roquin:. My obligation to
make such payments and lo provide receipts will be considered to be a promise and agreement contained in
this Securiry Insttument. as the phrase "promises and agreements" is used in Swtiort 9 of this Sect.ttiry
Instrumertt, lfl am obligated to pay Eserow items directly, pursuant to a waim, and i fall to pay the
amount due for an F.scruw Item, I.endct may pay that amotmt and I will then he obligated under Ser:cion 9
or this Seeutiry instrument to repay to Lnnt:ler. tender rrtay revoke the waivera.sto any or ali Escrow Iterns
at any time by a notice given °ut accordance with Section 15 of this Secttrity Irutrumcnt and. upon the
revocation l will pay to lender all Eaerow thds. and in amounts. that ate then required under this

Section 3.
willing
Q-attm names r...t.t n ; f term enact not

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entet’ed 09/25/17 10216:55

l promise to promptly send to bender any notices that l reoeive of Eaett:rtv Itcttt amounts to he paid.
Lendcr will minute front time to time the amatmt of Esr:row Furtds I will have to pay by using existing
assessments and hills and reasonable ectlrrtatel of theamount I will have to pay for Escro\v Iterns in the
furnre, unless Applieahle l.aw requires Lender to use another method for determining the amount I ant to
Fal'-

l.mder rrray, at any time. collect and hold Esr:row Funds in an amount sult'tcient to permit l.ettdt'.r to
apply the Escrow thds at the tirne specified under R.ESPA. Applieahle l.a'tv puts limits on the total
arrrourtt of Eo:tow Funds l.t:tder can at any time collect and hold. This total amount cannot bc more then
the maximum annum a lender could require under Rl':BPA. lf there is mother Applicable l.aw that
imposes a lower limit on thermal amotutt of Esr:row Fontls lender can collect and hotd, tender will he
limited to the lower amount.

{hl Lentler's obligationr.

Lcndcr will keep |.he !':`sr:mw Frrnds in a savings or banking institution which has its deposits insured
by a federal agency. instrtuncrttality, or entity, or in atty Feder'al Home I_aarr Banlr. Il' under it mdl a
savings or banking instltt.ttion. Lt:nder may hold the Esctow Funds. Lentler will use the Escrow Funds to
pay the Est:ro\v Item.s no later than the time allowed under RESPA or other Applioahle Iatv. tender will
give to me. without charge, an annual accounting or the Est:row ‘r'~`l.tnds. "t‘hat amounting will show all
additions to and deductions from the Escro\v Funds and the reason toreach deduction

tender may not charge me for holding or keeping the Eacrow Funds, for using the Etctow Funrls to
pay F.ecrnw ltems. for making a yearly analysis uf my payment of Escmw Funds or for reociving, or for
verifying and totaling summons ard bills. l-lnwever. lender may charge me for there services ii lender
pays me interest on lite Est:.to\ttt F`ttntis end if Applicahlc I.attv pennit.s Lct'tdor to make st.tt:h a chargc.
l.cnder will nut he required to pay me any interest or earnings on the Escrot.v Fttrtds unless either [l]
lender and I agree in writing that bender will pay interest on the F.sct'o\v thds. or {2] Applluble law
requires lender to pay interest tm the Est:row thds.

(c) Atl}ustmeu.tsto the Est:mw thds.

Under Appllcable l..ew. there la a l|a'tit on the amant of Escrotv thds Lcnder may hold. lf the
amount of Bcrow Ft.tnds held by lender exceeds this limit, then there will be an excess amount end
R.ESPA requires tender to account to me in a speeialrua.nner for the encetta amount of Escrow Ftrrtds.

tt, at any tune. Lerder has not received cmugh Escrotv Fmrda to make thcpayments of Eoo.row Itetm
when the payments are due. bender may tell me in writing that art additional mount is necessaryl Iwill
pay to Lcntlcr whatever additional amorart is neessary to pay the Escrow lterns when the payments are
due, but the number ofpaymcnta will not he more than l2.

When I have paid all oftl:te Su.rns Secured. Lcnder will promptly central to me any Escro\v F`t.tntts that
are then being held by Lcnder.

4. normwer's Obligatiorr to Pay Charges, Asausmeots and Clalms. I will pay all taaea.
assessments, water oharges, sewer rents and outer similar cbargec. and any other charges and fines that
may he imposed on the l’topctty and that may be superior to this Security lnstn.unent. l will also make
ground rents or payments due under my lease il l am a tenant on the l’ropcrty and Com.munity Assor:‘ration
timesl Fces‘ and Assessrrrents {ifany} due on the l’ropeny. lt these items are Escrow Items. l will do lhls
by making the payments as described in Seulon 3 of this Secun`ty lrrstrunrent. ln this Secon'ty lnstnmrent,
the word "Person' means any individua]. organization governmental authority or other pa.rty.

l will promptly pay or satisfy all l.lens against the Propetty that my he superior to this &curlty
lnsn'untcnt. Howevcr. this Sccurity lrutrurncnt does not require rnc to satisfy a superior I.len if: ¢a} I
agrec, in writing, to pay the obligation which gave rise to the superior Liert and lender approves the way
ln which l agree to pay that obllgation. but only so long m l anr performing such agreement'. (h) in good
iaith. l argue or defend against the superior lien in a lawson so that in l.errrlt:r's opinion. during the
lawsuit, the superior Lien may not be enforced. but only until the lawsuit ends: or (c) [secure from the
holder or that other Lien an agreement. approved in writing by Lender. that the Lien of this Security

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entet’ed 09/25/17 10216:55

instrument is superior to the l.ico held by that Pctson. ll border determines thatany pan of the Property is
subject to a superior Lien, bender may give Borrower a notice identifying tire superior Llcn. Witlt'ut ill
days of the date on which the notice ls given. Borrouter shall pay or satisfy the superior Lien or take otte or
more ol' the acllors mentioned in dais Section 4.

Lendr.t also n'tuy require me to pay a cne»tlroe charge for an indepers:loit real estate tax reporting
service used by Lmdcr in connection with the loan. routes .Applicable law does not permit lender to
make such a charge

5. Borro\ver"s Ohligetlon to Mtalolaiu Huard lostlrtlrtce or Pmperly .l.lt.stlmce. l will obtain
hazard or property insurance to cover ali buildings and other improvements that now ate, or in the fuhire
will hc, located on the Property, Thc insurance will cover loss or damage caused by lire. hazards normally
covered by "E.stcndod Coverage" hazard insu.tarr:e policies. and any other bamttls lot which lender
requires coverage, includingl but not limited to earthquakes and fioods. °lhe insurance will he in lhe
arnoi.lnls (irtclurling. but not limited io. deductible levels) and l`or the periods ol' time required by Lender.
What l.ender requires under l.he last sentence can change during the term of the lmn. l may choose the
iroutance company. hut my choice is subject to Lmder‘s right to disapprove l..ender may not disapprove
my choice urdcss the disapproval is reasonable under may require nieto pay either t,a) a one-time charge
for lloo¢l zone detetrrijnationl certification and tracking setvices. or (h) a one-time charge for flood anne
determination and certification services and subsequent charges each time remappings or similar changes
occur which reasonably might affect the flood zone deten'nlrta.tlon or oenllication. lf l disagree with the
hood zone delo-mination. l may request the Fedeial Emergeocy Maoagement Agency to :cv|ew the flood
zone determination and lprotnise to pay any fees charged by the Fedetal Emergency Management Agency
for its rcview,

if I fail to maian any of the insurance coverages described above, bender may obtain insurance
coverage. at l..endet's option and my expense Lmder is under no obligation to purchase any particular
type or mount of coverage Therelore, such coverage will cover lender. hut might or might not protect
me, my equity in the Property, or the contents or the Prnpeny, against atty risk, ward or liability and
might provide greater or lesser coverage than was previously in eH'ect. l acknowledge that the cost of the
insurance coverage so obtained might signilicantiy exceed the cost of insurance that l could have ohtalncd.
Any amounts disbursed by Lc-ndcr under this Smtlon 5 will become roy aidilioml debt escorted by this
Soct.lrlty Il'lsl.rument. Tbc.se amounts will bear interest at the lstlt:t'esl rate set forth in tl:te Note from ll:le dale
of disbursement a.ud will be payable with such intercst. upon notice from l..ender lo roe requesting
payment

All of the insurance policies and renewals ol' those policies will include what is brown as a "Standard
htortgage Clause" to protect lender and will carrie l..mder u mortgagee auditor as an additioml loss payee
’l'he form of all policies and renewals will he acceptable to l..ender. lender will love the right to hold the
policies and renewal cenil'tcates. lt l..cnder tequlres, l will promptly give border all receipts of paid
premiums and renewal notices that l receive

If l obtain any lorin of ituurance coverage not otherwise required by laender. for damage to, or
desuoction r.\l'l th‘e Pcopetty, such policy will include a Standani Mongage Clause and will name l.ender as
mortgagee andr'or as an additional loss payee.

If there is a tim or damage to the Fropcrty, l win promptly notify the insurance company and
Lentlet', ll'l do nol promptly prove to the insurance company that the loss or tla.rmgc octttl':l'od. then bender
may do so.

'l'he amount paid by the hmnars:e company hac loss or damage to the Property ls called "lnsura.nce
Proceed.s." Uuleas lender and t otherwise agree in writing any lowrance Proceeds, whether or not the
underlying hisoiancc was required by l.:mder, will he used to repair or to restore the damaged l°topeny
unless: {a) it is not economically feasible to make the repairs or restoration: (b) the usc of the lteurance
Procceds for that purpose would lessen the protection given to Le-nder by this Seo.trity lnst.rument; or {e)

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Q.atnvi marital wm n sam aoaa nor

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

bender and I have agreed in writing not to usc the insurance Proceeds for dial purpose During the period
that any repairs or restorations are being rrutde, lender may hold any lmuranoe l'rooeods until il has had an
oppornmtty to iropect the Properry to verify that the repair work has been completed to lenders
satisfaction Howevcr. this inspcdlon will be dl:me prontptly. L.ender may make payments lot the repairs
and restoration in a single payment or in a series ol' progress payments as the work is t:ont.plcmd. Uoless
Lutder and I agree otherwise in writing or unless Appliutble law requires otherwise bender is not
required to pay me any interest or eamings on the lnsurance Froceeds. l will pay for any public adjusters
or other third parties that l bire, and their fees will not be paid out of the insurance Pmceeds. if the repair
or restoration is not economically feasible or if it would lessen laet'tder's protection I.ltlder this Scu.trity
lnstnuncnt. than the lnsurance Proecods will be used ro reduce the amount that lowe to l.eoder under this
Sct:urity instrument Sucb Insurant:e Proceeds will beapplierl in the order provided for in Scctlon 2. if any
ol' the lnsu.ma:e limest remain alter the arnotmtthat l owe to Lertder has been paid in full, the restraining
Imulartte Pmooods will be paid to me.

IfI abandon the ?roperry, Lender may frie, negotiate and settle any available insurance claim and
related matters. if l do not mwer, within 30 days, a notice from bender stating that the insurance
company has offered to settle a elalm. Lender may negotiate and settle the ciaitn. The iii-day period will
begin when the notice is given. In either event. or ill.e:nder acquires thc ?roperty under Scction 22 of this
Securiry instrument or ottlerwi.\sel t give l..enrler my rights to any lnsurance Procecds in an amount not
greater than the amounts unpaid under the Nole and this Securily Tnstrument. l also give bender any other
of roy lights father than the right to any central ot'uneamed premiums that l paid] under all insurance
policies covering the Froperty. if the rights are applicable to the coverage of the Properry. tender may use
tire insurance Proceeds either to repair or restore the Properry or to pay amounts unpaid under the Note or
this Scct.triry lnstrumenl, whether or not then due,

6. Borrower's obligations to Dccupy "l`he hoperly. l will occupy the l’ropcny and use the
Propeny as my principal residence within 60 days after l sign this Seourity tnsou.ment. l will continue to
occupy tile Propetty and to tide the Prtlperty as my principal residence for at least one yeah The one-year
period will begin whenl lirst ocmpy the Properry, l-lowever. l will not have to occupy the Froperty and
use tire Ptoperty aa my principal residence within the time frames set forth above tr tender agrees in
writing that l do not have to do ao. under may nor rehire to agree unless the refusal is reasonable l also
will not have to occupy the Propczty and use the Properly as my principal residence within the time frames
aet forth above lfextenuating eircimsttanoes exist which are beyond my oootrot.

'i'. Bort'ttwet’*s Dhllgatloos to Mttlntoln And homer The Pr:opu't.y A.\ttl to Ftt|l'lil Any Lease
Dhligotloos.

{a} Maloteoance and Prot.octlon of the Properly.

l will not dissutty, damage or harm the Property. and l will not allow ute I'roperty to deterioratel
Whetber or riot l run residing in the Property. l will keep the Propeny in good repair so that it will not
deteriorate or decrease in value due to its oondltton. Uoless it is detmrr.‘tnai under Soctlon 5 ol‘ this
Set:ttriry instrument that repair la not economically fea.o'ble. 1 will promptly repair the Property ttdamaged
to avoid further deterioration or damage. lf issuance or Condetttnation las donnell in the definition of
Misoellaneotts Proceeds} proceeds are paid because of loss or damage co, or Conderonation of. the
?roperty. l will repair or restore the Propcrry only if tender has released those proceeds for mich purposes.
lender may pay for the repairs and restoration out or proceeds in a single payment or in a series of
progress payments as the work is completed lf the inatranoe or Condernnation proceeds are not sufficient
to repair or restore the Properry, l promise to pay lortl:te completion of such repair or restoration

(h] Lerrdet"s losoection or hoperty.

lottler. and others authorized by L):ndor, may enter on and inspect the Froperty. Thcy will do so in a
reasonable mamter am at reasonable timcs. ll it luis a reasonable purpose, lmrderrrlay inspect the inside of
the home or other improvements on the Property. Bcfore or at the time an inspection is rnade. Lender will

iit'e me notice stating a reasonable purpose for such interior it'tspoclitl’lli
Q-leYl months reno et tv M kern tith 1.*¢| t

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

B. Borrowtsr's Loon Appiieollotr. lf. during tire application process liartlte l.nan. I. or any l’crstnt or
etttity acting al my direction or with my knowledge or carlsenl. made false. misleading or inaccurate
statements to Lenrler about information important to lender in determining my eligibility for lite Loan (or
did not provide lender with such lnlhrntatlon]. lender will treat my actions as a trenton t.tnder this
Seeur'tty lau-tunenr. Palae, misleading or inaccurate staternartls about information important to lender
would include a mineprsentol'ton of my intention to oreupy the Propeny as lt primipal residence 'Ihis is
just one exarrtple ola false. misleading or inaccurate staletnent of important informationl

9. lreuder's light to holect Ils ngltts in The hoperly. Il'; (a) l do not keep my promises and
agtecrrtenl_t made in this Seeurity lrtstrument; (b} sonteone. ineludlng me. begins a legal proceeding that
may signilicantly affect l.cnder's interest itt the Properly or rights under this Sacurity instrument (sttcll as tt
legal proceeding in harl.°cruplcy. irl ptohale. for Conderrlnacion or Fot'feilure {as defined in Seei‘r'on 11),
proceedings which could give a Persun lights which could equal ore)tceed Lender's interest ill the Ptopel'ty
or under this Seettrity lnslrument. proceedings fur entitlement ot` a L|en which may become superior to
this Seourity lnstrtanent, or to enforce laws or regulartons); or (c) l have abandoned the Propr-rty, then
lender may do and pay for whatever is rasunablc or appropriate to protect licnder‘s interest in lite
Ptopcrly and Lender's tigth under this Secority bastrutttcttl.

lender‘s actions may include, but are not limited to: (a) protecting and!or assessing the value of the
PlluP¢-'I'tyi {b) securing and!or repairing the Ploperly: (t:) paying sums to eliminate any l.ien against the
Properl;y that may be equal or superior to this Sctattriry ittsll'un'lenl; (d) appearing in eottrt: and (e} paying
rmsonable attorneys fees to protect its interest in the Property motor rights turner this Seettrity
Instrl.l.ntent. including its seemed position in a banlo'upley proceeding Lenllcr earl also enter the Properly
to make rqraim, change locks. replace or board up doors and windows. drain water from pipes. eliminate
building or other code violatiom or dangerous conditions. have utilities named on or ofl. and lake any
other action to senate the Ptopeny. Nlhougtl Lendet may take action under title Section 9. l.erlder dow nol
have to tro so and is under no duly to do so. t agree that l.trrtdt:tl will not be liable for not taking any or all
actions under this Se\:tlon 9.

I will pay to lender any amounts, with interest. which Lertder spends under this Sectiort 9, I will pay
those amounts to lender when bender tends rne a notice requesting that l do .-ro. lwill pay interest on
those arnettan al the interest tate set Iorlh in the Note. Interest un each amount will begin on the date that
tire amount is spent by bendet. This Secur‘tty Iostrumenl will protect lender in case I do not keep this
promise to pay those amounts with interest.

If l do not uwrt, but am a tenant on the Froperty, I will fulfill all my obligations under my lease. l
also agree lhat, itt acquire the full title (sometlmtr. called "Fee Title“) to the I'NP¢IW. my lease interest
and the Fce Titlc will not merge unless bender agrees to the merger ill \tn'ltlngl

lll. Morlgage Insttranee. `lf bender required Morlgage insurance as a condition of ranking the loan.
l will pay the premiums for the Mortgage buunncc. If. forany reason. the Mongage insurance coverage
classes to he available from the mortgage insurer that previously provided such insurance and lender
required me to make separate payments toward the premiums for Mortgngc lnsthanee, I will pay the
prcmitnns for substantially equivalent Mortgagc lnstnanl:e coverage from art alternate mortgage insurer.
l-lo\ttever. the costh this Mongage insurance coverage will be substantially equivalent to the cost to meet
the previous Morrgage Insurance coverage, and the alternate mortgage iret.lrer will be aimed by Leuder.

ll substantially equivalent Mongage lnst.u'anoe coverage is not available. lulder will establish a
non~refuntlable 'l.oss Reecrve" as a substitute lot ute Mortgage insurance coverage l will continue to pay
to lender each month en amount equal to one-twelfth or the yearly Mongagc Insura.rtce premium las of the
time the coverage lapsed or ceased to be ln effet:l). lender will retain these paynrents., and will usc these
payments to pay for lam that the Morlgage lrlsutance would have covered 'll:te loss Reserve is
non-rehrndalrle even if lite Loa.n is ultimately paid in full and lender is not required ll:l pay me any interest
on the loss lteaervc- l.enller can no longer require loss lteserve payments if: (a) thgage insurance

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Q-atltt'l tenants r.r.r .t tr Farrtr anna riot

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

coverage again becomes available through art irsto'er selected by l..ender; (b) such Mortgage insurance is
obtaincri: {c) lender requires separately designated paymenu toward the premiums for Mortgage
lne.t.tanee; and (d) the Mortgage lnsrrrnnce coverage is in the amount and for the period of time required by
Lender.

lr lender required Mortgage insurance as a condition of making the bean and Berrower was required
to make separate payments toward the premiums for Mertgage lrrsuntttoc1 l will pay the Mortgage
insurance premium.t. or the loss lteaerve payments. until the requirement for Mortgage lnau.rance ends
according to any written agreement between l.ender and me providing for such termination er tuttil
tenninatien of Mottgage insurance ia requirtxl by Appileahle Law. lender may require me to pay the
prentiunts, or the l.ose: Reserve payments. in the manner described in Section3 of this Secutity lnstrtrment.
Nothiug in this So:tion ill will affect my obligation lo pay interest at the rate provided in the Note.

A Mottgage insurance policy pays lender for any entity that purchases the Note] for certain losses it
may incur if Bon'owcr does not repay the hutto as agreol. Borrower `ts not a party to the Mottgage
insurance poliey.

lvlertgage insurers assets their total risk en ali Mortgage Inaurance from time to time Morrgage
insurers may enter into agreements with other parties to share or change their rtslt. or to reduce losscs.
These agreements are based on ten-ns and conditions that are satisfactory to the mortgage insurer and the
other party (or paniet) to these agreements 'l'hete agreements truly require the outrigage insurer to maine
payments using anyl source of funds that the mortgage insurer may have available [tlthich may include
Mortgage insurance premiums}.

As a result ul' thme agreemenl_-.. 'Lender. any owner of the Nole, mother insurer. any reinsurer., or
any other entity may receive tdireclly or indirectlyl amounts that come horn a portion of Bon'ewu's
payments for Mertgage losulaia:e. in exchange for sharing or changing the mortgage insureds risk. or
reducing losses. if these agreements provide that art affiliate of lender takes a share of the innuer‘a risk in
exchange for a share of the premiums paid to the insurer. the arrangement is ellen turned 'captive
reinsurance.' lt also should be understood that: [a) amy oftheseagrecmeots will not affect the amounts that
Borrower has agreed to pay for Mortgage Imurance. or any other terms of the l.oan. ‘Iheae agreements
will not decrease the arnotmt B-orrower will owe for lvturtgage lnsurmce, and they will not entitle Borrowcr
to any refund; and tb) any ofthse agreements will not effort the rights Berrower has - if any- regarding
the Mortgage insurance under the l-iomeowncrs Preteetion Act of 1998 or any other law. 'Thtse n§ttsmay
include the right (a} to receive certain disclesmes, (b) to request and obtain cancellation ot the Mortgage
lnsurttnce. (c} to have the Mongage insurance tennirtated nutornatlczlly, and!or (d) to receive a refund of
any Mortgage insurance premium that were not rented at the time of such caneellation or temt.imtion.

ll. Agreemenl.'s Abnul. Mlseellttneou.s homeds; Fnrfeiture. All Mlacellamotts Prouet\‘l.a are
assigned to and will he paid te Leeder.

lf the Propmy' rs damaged. such Miacellnnt:ous Procecds will he applied to restoration or repair of the
Propetty. if (s) the restoration or repair` rs economically feasible and tel lender security given in this
Secority Instrument is not lessened. During such repair and restoration period Lender will have the right
to hold such Miaeellaneot.ts Proomds until lender has had art opportl.tnlly to inspt.'t':l the Pruplfty to verify
that the worit has been completed to Lender's satisfaction Ho\»vever. the hupectieo will be undertaken
promptly. Lender may _pay for the repairs and reetomden in a single disburseth or in a series of progress
payments as the worIr' rs completed i.ioless bender and l agree otherwise` in writing or unless Applicahie
law requires interest to he paid on such Miscellancous Pcoeoeda. Lender will not he required to pay
Bor'rower any interest or cart-rings on the `Miaccllanooua Proeeed.s lt the restoration or repair is not
economically feasible or Iznder's security given in this Sect.u'ity instrument would be lessened, the
Miseeilaneoua Proceeds will he applied to the Sums Secured. whether or not then due. The excess, if any.
udll be paid to me. Such Miace‘llara-.ous Pmceeds will hcapplied in lhe order provided lorin Section 2.

tn the event of a total taking. destruction er loss in value of the Pmperty, the Miseellaneoos
Proceeds will be applied to the Surns Szcurerl, whether or not then due. The eleea*s, if any. will he paid to
l'l'l¢.

Itt the event of n partial taking. desl.tt.tt:tion. or los in value of the Ptopet!y in Whit:ll the fair mltet
value of the Ptopetty immediately before the partial talting, destruction, or loss in value is equal to or
greater than the amount of the Sutrrs Secttted immediately before the panial taking` destruction or loss in

gin

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

vdue. the Strnrs Soctlred will be reduced by the amount of the Misoellaneous Pmt'.oods multiplied by the
following fraction: [a] the total amount of the Strrrls Secured immediately before the partial tahlrrg.
destruction or loss in value divided b ibt the fair omrtret value of the Pmperty immediately before the
partial miting. deauu:tion, or loss in ne. Any balance shall be paid to trie.

ln the event of a partial lairing. destruction, or loss in value of the Ptoperty itt whidt the fair market
value of the Properly inmedlately before the partial uking_ destruction, or loss in value tr los than the
annual of the Sutna Sor.urcd immediately before the partial taking, destruction. or loss in value, the
Miseellaneous Proceeds will beapplied to theSutnt Securod whether or not the sums are then due.

lfl abandon the Pmperty, or tf. alter l.mdr,r sends me notice that tbe Opposiug Party {as defined itt
the next senterce} offered to nr:dcc an award to settle a claim for damagee, l tail to respond to Ll:ndcr
within 30 days aRer the date Lend¢r gives ootil:e. bender is authorized to collect and apply the
Miscetlancous Ptoeccda either to restoration or repair of the Pt-opcrry or to the Sutns Secured, whether or
not then due. ‘Oppoaing Parcy" means the third party that owes me Misl:el|aoeous Prot:eods ot the party
against whom l bare a right of action itt regard to Miseelianeous Pruceods.

l will be in default under this Seeu.rity Irtstrunrent if atty civil or criminal action or proceeding that
lender determines could vault in a court ruling (al that wotud require Forfeirure ot the Properry, or (b)
that could damage Lntder‘s interest in the l'roperry or rights under this Seeurt`ry Insu'u.t:rtenl. "l'-`ort'eiture' is
a court action to require the Property, or any partoftbe Propelty. to be given up. lmay correct the default
by obtaining a court ruling that dianussea the court action. il' tender detennines that this court ruling
prevents Ftrrt`eitute ol` the Property and also prevents any damage to Lender's interest in the Froperty or
rights under this Secutity Instrnmenl. if l correct the detault. t will have the right ur have enforcement of
this Seeurity lnstrumcnt dtsoortttmted. as provided in Sot:tlon 19 ot' this Sccuriry ln.tl.rttment, even if Lr.nder
has required lrroncdiate Pammt in Full {as defined in Ser.lion 22}. The proceeds of any award or claim for
damages that are attributable to the damage or reduction of Lender‘s lltteresl in the Property are asaigned.
and will be paid. to lmder.

A|l Miscellaneous Ptoeeetls that are not applied to restoration or repair oftbe i’roperty witt beapplioo
lo the order provided for in Seotiun 2.

12. Corrtlottattott of Borrotrei"s Dhl|gat.tous Arld ot' l'..e.odel"r Rights.

(a) Borrower~'s Obligation.r.

I.ender may allow me, or a Petsort who takes over my rights and obligations, to delay or to change
the mount ol' the ?criodic Fa ments. Even if I.ender does this, however, l will still he fully obligated
under thc Note and under this geeuriry instrument orders Lender agrees to release me. in writtng, from my
obligatiorei.

Lenrter may allow those delays or changes for rno or a Person who takes over my rights and
obligations even it Lender is requested not to do so. Even it`l.ender is ursted to do so. bender will riot
be required to (l) bring a lawuil against nrc or such a l’erson for not rul thing obligations under the Note
or under this Socortty lnstruroent. or [2} refuse to extend lime for payment or otherwise modify
amortimtion ol' the Sums Seeured-

(b] Liendcr's ngbt.s.

Eveu if l.ender does not exercise or enforce any right of bender under this Seemtty instrument or
under Applitzhle I.'tw, bender will still have all of those rights and may exercise and enforce them in the
furnre_ Even ir: {t] Lentter obtains insurance pays taxes. or pays other elaims. charges or Liens against the
Propen:y; (2) bender accepts ailments from third I’ersons: or {3} Lender accepu payments in amounts less
than the amount then doe, ll:mder will have the right under Seetion 22 below to ttenund that l make
lu'umdiate Payment in l’-`utl of any amounts remitting due and payable to l.ereler under the Note and under
title Seourity lrtatrumeltl.

13. Obltgatlons of Borrower ind of Per~sone Tah'lng Ot'er ltot'rowet"s lt.igttts or Obligatiorer. If
more than one Person signs this Srt:nrity instrument as Borront:r. aadt of us is nrily obligated to keep all
of Bonower’s promises and obligations contained in this Seeor’tty Instrurnent. Lender may emma
Londer‘s rights under this St:t:urity lnstrumutt against each of us individually or against all of ua togctltct-
`['hls means that any one ot'us troy be required lo pay all of the Strms St:cured. Howetrer. ifone of us does
not sign the Note: (a] that Person is signlrm this Secutity lnstrtrrnertt only to give that Ferson's rights in the
Ptupeny to i_ender trotter the terms of this Securily lnstrument: {b) that Pet‘son is not personally obligated
to pay the Sums Su'.:urod; and [c} that Person agrees that bender may agree with the other Borrowers to

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

delay enforcing any of Lcnder"s rigits, to median or make any accommodations with regard to the terms
of this So:urity instrument or the Note without that Pctaon's consent

Strbiect to the provisions of Soclion lB of this Security Inslrument. any Person who takes over my
rights or obligations under this Security lnstrument in writing, and is approved by border in writing. will
have all of my rights and will be obligated to keep all of my promises and agreements made 1a this Security
lostmment. Bonower will not be released from Barrower's obligations and liabilities trader this Seeurity
Insl:ttttttent unless Lender agrees to such release in writing Any l»‘etson who takes over l..ender's rights or
obligations under this Sectrriry htsttumenl \.vitl have all of lender‘s rights and will heobligaled to keep all
us Lender’s promises and agreements made in this Security Insh'lu'uent except as provided under Section
2 .

14. Lotm Clt.n.r'ges. I.erlder may charge mc fees for services performed in connection with my
detardr. for the impose of protecting I.ender's interest in the i'ropcny and rights under this Sccuriry
Inern.tment, lncll.tding. but not limited to. attorneys' Ms. properly inspection and valuation fees. With
regard to other fecs. the fact that this Security Instn.tmenl does not expressly indicate that Lendcr may
charge a certain feed-ocs not mean that lender cannot chargethal fee. lender may mt charge fees lhalate
prohibited by this Security ltctrtttoent or by Appllr:ab|e l.e\v.

lftbe Loo.n is subject to Applirsable La\.v which sets n\aaimu.nr loanclta.rges, and that Applieehlc Law
is Enally interpreted so that the interest or other loan clmrges collected or to be collected in connection
with the Loan exceed permitted iimits', (a) any such loan charge will be reduced by the mount necessary to
reduce the charge to the permitted llml`t; and [b) atty sums already collected from me Wliidt ettoeederl
permitted limits will be rehinded to nre. lender may choose to make this refund by reducing the principal
owed trader the Note or by rna.iting a direct payment to Borroner, ll a retilnd reduces principal. the
reduction will he rented as a partial prepayment without any prepaymt charge {even it a prepayment
charge is provided for under me Notel. Ifl accept such a refund that is paid directly to me, l will waive
any right to bring a lawsuit again-rsr tanner became of the overclmge.

t$. Notiees Requiled under this Securlty lottrl.loteett. All notices given by roe or Lenda' in
connection with this Sectlrity instrument will be in writing Any notice to me in comedlon wills this
Secnrity instalment is considered given to me doran mailed by first class mail or when actually delivered lo
my notice address if sent by other means l'iotice to any one Borroover will be notice to ali Borrovvers
unless Applitatble law expressly requires otherwise The notice address is llt.e address of the Ptoperty
orders I give notice to lender ol' a different address t will promptly notify let-trier ot my change of
address lf I.ender specifies a procedure for reporting rey change of address. then l will only rq:on. a
change ot address through that specified procedure 'l`ltere may be only one designated notice address under
this Securlry herron-rent ar any one time. A.ny notice to lender will be given by delivering ltor by mailing
it by first class mail to Lender’s address stated on the lirst page oi' this Sectn'ity lastrument lender
has given me notice of another address Atty notice in connection with this Ser:urity lmrunterrt is given to
binder when il is actually received by Lerider. if any notice required by this Sectlrlty lnstt'l.u't'mtt is also
required under Appliesbie ‘l.aw, the Applicable law requirement will satisfy the corresponding
requirement under this Soel.n'ily Iostrumenl.

16. l.:nv Terrt Gnverns this Seeurtty tactrument; Word t.lsoge. 'l'his Ser:uriry hispanth is
governed by ledenr| law and the law of Ncot York Slete. All rights and obligations contained in this
Sccurity lnstn.rmcrrt are subject to any requirements and limitatio'm of App|it:eble I.avt. Applrcabie Lavv
might allow the parties to agree by contract or it might be silent, but such silence does not mean that
lender raid t emmett agree by conuast. lt any term ot this Swu.rlty lnstnnneor or oi'the Note eonillcts with
Appiieable l.avv. the conflict willner affect other provisions of this Secttriry lrctmment or the Nots which
carr operate, or be given effect, without the conflicting provision Thia omits that the Set:u.rity lmtr'umenl
or the Nttte will remain as if the conflicting provision did nol mich

As used in this Secrn"rry instrument (a} words of the meridian gender mean ar_td include
corresponding worth of the foruihine and net.rtcr genders: [b) words in the singular rim md include the
plurai. and words in the plural mean and includcthe singular: and tel the word "rnay' gives sole discretion
without any obligation to take any actionl

17. Borrower‘s Copy. l will he given one copy of the Note and of this Security lnstrurneut.

lB. Agreements about Lender'a nghts ll the Pmperty ls Sold or Transl'h'red. l.errder may
require lonnediate Fayment in Full of a.l| Sttrna Secured by this Securlty Instn.nnml il all or any part of the
Pro erty. or if any right in the '.Froperty, is sold or oransferred without lenders prior written pernussr'on.

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entel’ed 09/25/17 10216:55

lt Borrower is not a natural Ferson and a benetir.ial interest in Bortn\ver is sold or transferred without
lendot"s prior written permisiort. lender also stray require lm.n~rediate Payn'rent in l-'-lrr.ll. Hnrvever, this
option shall not beenerclsui by bender if such exercise is prohibited by Applitable I.asv.

ll' Lender requires Imrmtlr'are Psyment in Fttll under this Scetiorr ltl, l..endcr will give me a notice
which states this requirement Tbe notice will give me at least 3[| days to drake the required paymrml. 'Ihe
3D-day period will begin on the date too notice is given to me in the manner required by Section 15 of this
Socurlty Insrrurnent. If l do not make the required payment during that pcrinrl. bender may act to enforce
its rights under this Secttrtry lnsrrnment without giving me any further notice or demand for paymenr.

19. Borrntrcr’s Right to liavo lender‘s Eoloreement nl' this Seu.lrlty lostnt.ment. Dlsoontirroed.
Even if Lerrder bn required Immodiate Payment in Fulll I tri.sy have tire right to have enforcement of this
Securiry instrument sroppod. I will have this right ar any time before the carlinth of: (a] live days before
sale ortho Prnperty under any power of rate granted by this Secrtrlty Instroment: (|JJ another period as
Appiicabte Lssv might specify for the temrination of my right rn have enforcement of the Loan stopped; or
te) a judgment has been ordered enforcing this Secto'iry Instnunent. ln order to have this right, l will mori
the following conditions:

(a] l pay rn l_.ersder the hill amount that then rvorrld bc due under this Seo.trity lnstrumcnt and the

Note as if lrrmrediale Payment in Fl.rll bad never been required;

{b] l correct my failure to keep any of my other promises or agreements rrrade in this Security

Instrr.tnrent,l

{r:} l pay all of Leruier's reasomhle exporter in enforcing this Sectrt'ity Instrlnnent tnclu.ding, for

erra.rnple. reasonable attorneys' fees property inspection and valuation fes, and outer feet inctn'red

for the purpose of protecting Lender's interest in the Prop=rty end rights under this Secttrity
lnsb'trrnerrt; and

(d) l do whatever lender reasonably requires to assure that !.,ender's interest in the P‘rnperry and

rights under this Secrtrity loom.troent and my obligations under the ‘Note and trader this Smurily

hatere-ot continue nncbarrged.

l.ender may require that l pay the sums and expenses mentioned in (a) through (d] in one or more of
the following fom,ts. as selected by l..errder: (a} msh; {b) money order; (c) cedilit:d checi:. bank cbot:k,
ttmnn-er's check or cssbier's check drawn upon an institution whose deposits are insured by a federal
ageocy, instrumentality or entity; or (d} E|ectron.ic l-`t.tnds Trartst’er.

lfl fulfill all of the conditions in this Ser:tion lB. then this Secruity instrument will remain in full
client as if lnunedtate Pa_yrrrent in Ftt|l had never been required Howcver, lwill not have the right to have
l..errder‘s enforcement o this Secr.trtty ln.strnrnent discontinued if bender has required lmmediato Paytnent
in Ftrll under Set:tioo lB of this Sectn'ity instrument

20. Nnte Hoider's ngbt to Sell the Note or an later-rst in the Nntrz; Borm\ver's Right tn Notirs:
or Change of Lonn Servlcer; Lender's and Bormvrer'a nght to Nnt|ee nl Grie'\tnnce. ‘Ihc Note, drain
interest in l.be Note. together with th|s Seeuriry ln.'.trrrrmenr, may be sold one or more times I might not
receive any prior notice of these sales.

Tbe errtit§,l that collects ttheriodic Fayments and performs other mortgage loan servicing obligations
under the Nme. this Ser:urity loslrument. and Applicable l.a\v is called the 'Loan Servioer_' Thnt'e may be
a change ot' the Lnen Scrvicer as a result oftbe sale ofthe Nore. Tl:rtn'e also may be one or more changes of
tire Loan Servlcer unrelated lo a sale of the Note. Applicable Latv requires thalI be given written notice of
atty change of the L.nan Servioer. Tbe notice will statet|re mims and address ofrhe new l.oan Serviner, and
also tell me the address to which l should maine my }:ta_yntr:ntsl 'Ihe notice also will contain any other
inii:rrmallon required by RESPA or Applirmble ]_aw. lt the Notc is sold and theraller the bean is serviced
by a Loarr Scrvit:er other than the purchaser of the Nore, the mortgage loan servicing obligations to me will
contain with the l_.nnn Servtcor or he transferred to a successor Loan Servicet and are not assumed by the
Note purchaser t.n~t.tess otherwise provided by the Note purehasr:r.

Noithcr l nor Learder may eortr.menee. join or be joined to any court action las either an individual
party or the member of a class) that arises from thc other party's actions pursuant to this Sectrriry
Instrurnent or that alleges that the other has nor fulfilled any of its obligations under this Secnriry
Instrtmrient. unless the other is notified tin the mercier required under Set:tion l$ of this Set:ttriry
insrn.rrnent] or the un.tir.|flllnd obligation and given a reasonable time period to take corrective action. ll
Appllesble law provides s lime period which will elapse before certain action can be labetr, that time

_ W§L

®;-Elt'l‘l'l tooostos miner r'r ; kent 3033 1101

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

period will he deemed to be reasonable for purposes of this paraglph. ’l`lre notice of acceleration and
opportunity to cure given lo me under Sct:tion 22 and the notice of lite demand for paymmt in l'i.tll given to
me under Seetioo 22 will be deemed to satisfy the notice and opportunity to take corrective action
provisions of this Section 90. All rights under this paragraph are subject t.o Applicalrle I.arv.

21. Cootlnuation of llorrotver's Ohligations to Maintaln and Protoct the Propert.y. 'i`hc federal
laws and the laws of Ne\v Yorle Stnle that‘ relate to health, safety or environmental protection are called
“Enviromrterual la\v.' Eovironnrenral law classifies certain measures as toxic or hazardous here are
other substances that are considered hazardous for purposes of this Sectioo 21. Tlrese substances are
gasoline. keroserte. other flammable or toxic petroleum products. toxic pesticides and herbicides, volatile
solvents, materials containing asbestos or i`orrrtalde.hyde. and radioactive materials 'I`lxe mbalaneca defined
as toxic or hazardous by Envitortmeutal law and the substances considered hazardous for proposes of this
Secrion 21 are called 'Hsaardous Substanoes.' "Environmental Clwnt.qr" includes any response action.
remedial action. or removal actlon. as defined in Envlronrncntal La\v. An 'E.nvlron.tncttlal Conditlon"
means a condition dial an cause. contribute to. or otherwise trigger an Environnren!al Clcattup.

lwlll not do anything affu:titt; the Properl'y that violates Environ.mental Law. and l will not allow
anyone else to do so. I\vill not cause or permit Haza.tdous Substaneea to he present on the ?ro‘perty. l will
not use or store Hazardous Substan.rer on the Pmperry_ Ialso will not dispose orlta:tantoos Substanees on
tire Properry. or release any Hazatdous Substance on the Properry, md l will not allow anyone else to do
so. I also will not do, nor allow anyone else to do. anything affecting the Properry thnt: (a) is in violation
of any Environment.al La\v; (b} creates an Envlronnreutal Coodition; or [e] which. due to the presence
toe, or release of a Hazar-dous Sobstanee, creates a condition that adversely affects the value of the
Pfoperly. 'Thc promises in this paragraph do not apply t.o the presence, use. or storage on the Pruperry of
small quantities ol' l-laaardous Substaoees that are generally rccognizedasopproprinte for norrml residential
use and maintenance oi the Property (includiog. but not limited to. Haza.rdous Suhstancl¢ in consumer
products). l may use or store these small quantities on the Property. in addition, unless Ertvironnrental
law requires removal orotl:ter action, the hoildlngs, the improvements and the fixtures orr the Propert'y are
pemrittod to contain asbestos and asbestos~eontoining materials if the asbestos and asbstos~t:onlaining
-terials are undisnrr'ood and "non-frialrle" (tlral is, not easily crumbled hy hand pressure).

l will promptly give bench wriltett notice of'. (a) any investigation, elaim. dcrnatt.d. lawsuit or other
action by any gowen-oriental or regulatory agency or private party involving the property and any
i-la:zardoos Suhstaooc or Envlmumental law of which l have actual lotowledge; t,b] any Environrnental
Condition, including but not limited to. any spi|ling, leolring, discharge release or threat of release ofany
Ha.mrdoos Suhstance; and (t:} any condition mined by the presence. use or release ol' a Haeerdoos
Suesta.nce which adversely affects the value of the Propeny. If l learn. or any governmental or regulatory
atrrhoriry. or any private FW. entities me that any removal or other remediation ot any Hazardous
St.tbstance affecting the Froperty is neeessary. l will promptly take all necessary mental actions in
accordance with Envitoomenlal Lavv.

Nollrlog in tlris Security losmrmeot creates an obligatlon on lender for an Envitonmmtal Cleanrrp.

NON-UNIFORM COVENANI‘S

I also promise and agree with bender its follt.'iws:

ZZ. bmder’s lt.iglrl.s tr narrower Falls to Keep boulder and Agrcemeots. Etnoept as provided lo
Sadion 18 of this Socurlty lostrunrenl, ll all of the conditions stated ln subcontracts ial, (b,l and tci or
this Section 22 are met. lender may require that l pay immediately the entire amount then
remaining unpaid under the Note and under tisz Seeurity lnstrtnneot. bender may do this without
waiting any further demand for payment 'I'Ids roqidremml is called "l.mu'.ted.iate rayment. ln Full."

If Leuder requires humedlate l’ayment in Fu|l, bender may bring a lawsuit to take away all of
my remaining rights in the Property and have the hoper‘ty sold. At thls sale Lender or another
Pet'son may acquire the Propet'ty. 'l'hls is known ar "Fnrecloeure and Saie." br any lawsuit for
Foroclosore and Snle, Leoder will have the right to collect all costs and disbursements and additional
allowances allowed by Applleoble Lavv and will have the right to add all reasonable attomeys' feet la

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Q-EIIN'.\ location t’ro¢ ta ar 11 2 z 'Forrlt 3033 tilll

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

tire amount l owe Lender. which fees shall banome port ol‘ tire Sums Securcd.
heads may require Immediate Faynrent in Full under llsz Sect|oo 12 duly trail oftbe loilowtng
conditions are mct:
tel l l'ail to keep any promise or agreement made tn this Ser:urlty instrument or the Note, tnciading,
but not limited to, lite promises to pay lite Sunts Seeu:ed when due, or ll marbu- del’attit occurs
under this Secorlty lostrl.tmcntr
ibt bender sends to me, in the manner described in Section tS of this Seem-ity lnstrrtnreot, a notice
that states:
(I} 'I'be promise or agreement that l failed to keep or tire default that has occurred;
{2} Tlre action that I must take to correct that dd'ault;
(3} A date by which l ernst correct the default. Trrat date will be at least 30 days from lite
date on tvll{t‘b the notice ls giveo;
(4} That ifl do not correct the default by tbe data stated in the notiee, bender may rer.p.tire
immediate Payment in mli, and bender or another Pet'son may acquire the Fropertv by
means ol'Fot'eelosm‘e and Sa|el
(5] 'l'b.at if l meet the conditions stated in Ser:l.ion 19 ortbts Secm'ilv lnstrumeat, l will have
the right to have l.eoder‘s enforcement ol' this lieuter instrument stopped andre have the
Note and this Securlty instrument main fully effective as ilr immediate Paynrent in hit
bad never been required; and
{B} Tlrat l have the right in any lawsuit for Foreclosure and Sale to argue that l did keep
my promise end agreements under tire Note and under this Securlty Inatnr.ment, and to
present anyr other defenses that I may bauer and

[r:,'l l do not correct the default stated in the notice from bender by the date stated in that ootlce.

23. bender'a Clbllgallon to Discbarge this Secur|ty losirument. Wben under bas been paid all
amounts due under lite Notc and under this Socttlily lusti'l.tmt°:ut, loader will discharge this Set:ut'lty
Iltsl.rllmcnt by delivering a certificate stating that Il:lls Seeurlly lnstn.tmcot du been satklled. l will pay all
costs of recording rise discharge in tbe proper official records. l agree to pay a lee for the discharge of this
Securiq¢ instrumcnt. il l..mdcr so rcqulrcs. Lender may require that I pay such a fee, bur only if the fec is
paid tn a third party for ser-rim rendered and tire charging of tire fee is permitted by Appiicable law.

;td. Agreements about New York Lle-n La\v. l will receive all amounts tent to mc by lender subject
to lite trust fund provisions ofS-oct'ton 13 of the New Yorit lim i.aw. Tlrls means that I will: (a) hold ali
amounts which l receive and which I have a right to receive from bender under the Note as a trust fund;
and (b) use those amounts to pay for 'Cost ot lmprovemcot‘ las defined in Sectlon 13 of tire Nc\v York
Lieo Law} before I usc them for any other purpose '['bc fact that I am holding those amounts as a trust
fund means tttar for any building or other improvement located orr lbo ¥roperty l' have a special
responsibility under the la\v to usc tbe amount in l.bc manner described in this Sectioo 24.

25. Bttrm\¥t'.t"s Staiement Regat'dlng the I*rupu‘i]t [l:hs:k box l.a applicable].

EThis Sec:u:'ity Itmttmtent covers real property irnp:oved. or to be improved, by a one or two
family dwelling only-

l:l This Socuriry lrrsuummt covers real property principally unprovrd. or to bc inmrovuL by one
or more structures consain.irrg. in tbc aggregate out more than six residential dwelling units witb
each dwelling tmit barring its own separate cool:i,o,gl facilities

l:l Tltis Secut~il:y Instn.tmcttt does not cover real property improved as described above.

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Fomt 3033 1101

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

BY SIGN]NG BH)OW. 1 accept and agree to the promises and agreements contained in pages 1
through 11 of this Sncnriry Immuuent and in any Ridrr signed by me and recorded with iL

Wicmsms:

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ah am \H. R'i Z'¢|‘B r| v -Bolmw:r

’ ' K')‘, (Su.l}

 

 

 

 

 

 

 

 

 

Shaz'i a P. R'i zwan -amw

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(S€ai) {5¢!|)
»Bommcr -Ee:mwu
w\u»rlr harm 30.33 'l.'d\

 

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

SI‘A‘I'E OF N'EW YORK, SUFFOLK CGl.lnly ss:
011 tdc 13111 day OfJuly 2007 before me. l.\'u: undersignod, armour
…e personally appeared
Ghani H. Rizwan
Shazin `P. Rizwa.n

personally brown in mg or proved lo me on lhe buis of salisbuon evidence to be the individual(s) whose
tm.mo(s} islam subscribed lo lbo within inatmment and schowluiged m me liral hdshe!l.hcy execowd l.|m
same in hidhcdlheir capacily(ies]. and that by hidherilhoir signatm'e(s] on lh: ioslmrnml, the
individua.\{s}. or tdc person upon behalfof which the individual{s} ncted. executed lhe imt:ucnenl.

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q¢ll\l'lm JIIF‘““"" lwmm 15 Nom'y Fub|k

Tn Map}n_f°nm[i°n: DlSTRICT 0300 SEBTIU'N 132.00 BLOCK Ob.OU LOT 010.00

 

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

EXH|B|T C

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

A her recording please mail to:
PEl RSON PATI`ERSON. LLP
ATTN: RECORD[NG DEPT.
13750 OMEGA ROAD
DALLAS, TX 75244~4505

DISTRICT: 0800; SECTION: 132.00; BLOCI{: 06.00; LOT: 010-009

___ ______ ._{Spar:e Abm)e Thr‘s Linc For Recerding Dara,f_»-___ _

NEW YORK ASS l.GNMENT OF MORTGAGE

For Value Received, JPMorgan Chase B.onk, Natiooal Assoeiatiou, the undersigned holder of a Mortgage (herein
“Assignor”), whose address is 700 KANSAS LANE, MC 8000, MONROE, LA 71203 does hereby grant1 sei|,
assign, transfer and convey, onto l.l.S. Bank Natlonel Association, as trustee for PROF-ZOI¢SZ REMIC Trust
II. (herein “Assignee” , whose address is 6|] livingston Avenue, EP-MN-WSBD, Attention: Structu red Finsnce
Services - PROF, St. Patll, MN 55!0'¥, all beneficial interest under a certain Mortgage dated .lnly 13, 2007 and
recorded on Augost 3, 100?, made and executed by Gl-IANI ll. RIZ»WAN AND SHAZIA I-". RlZWAN, to and in
favor of JPMORGAN Cl-IASE BANK, N.A., upon the following described property situated in SUFFOLK
C`ounty, State ofNewYork:

Property Address; 15 YELLOW TOP LA, SMYTHTOWN, NY 11763

such Mortgage having been given to secure payment of Six }lundred Siirty Eight Thousand end Ofllltillths
(5668,000.90), which Mortgage is of record in Boolr, Volume or Liber No. M0l]021577, at Page 814 for ns 'No.
N!A), in the Ofl`lce of the County Cierk or Register oi`SUFFOLK County. State of New York.

This assignment is not subject to the requirements of section two hundred seventy-live of the Real Properry Law
because it is an assignth within the secondary mortgage market.

'I'O HAVE AN'D TD HOLD, the same onto Assignee, its successors and assigns, forever, subject only to the terms
and conditions of the above-described Mortgage.

   
 

 

 

lN S W OI~`, the undersigned Assignor has executed this Assignment of Morlgege on
Assignor:
`\\\\““g;"r:””lt,r,& .ll' an Chase Bank, NntionalAssocintion
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§ o.~" s°“"°si;-.“"¢l~, By: . ,.s
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"Flruinu"°

 

N¢w Yori¢ designate ut ol' Mor¢gage
.FPMorgon Clmse Bnnlr. N.A. Projecl WMBS l’oge 1 oil

 
 

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

    

ACKNOWLEDGMENT
Stste of louisiana §
Parish of ouachita §
On 3;5 |A G in the permit before me, the undersigned, personally
appeared _-€_, personally known to me or proved to me on the basis of

 

satisfactory evidence t be t e individual(s) whose name(s) is (are} subscribed to the within instrument and
acknowledged to me that h h they executed the same in his.drerftheir cepacity(ies), and that by hismer!their

signaturo(s} on the instrument, the individuai(s), or the person upon behalf of which the individunl(s) eeted, executed
the instrumenL

 

 

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{Seel) My Commission Expires: £ifri‘€'()£'““"'r_F

 

New 'r‘orlr Asslgunent ofMorlgage
JPMorgeo Clroae Bon|r N.A. Projerl WIBIB Pnge 2 nfl

   

CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

    

SUFFOLK COUNTY CLERK
RECORDS OFFICE
RECORDING PAGE

Type of Instrumene: AssIGNMENT 0F MDRTGAGE neeorded: 10/21/2014
Numba:r: of Pages: 3 At: 10:26:19 AM
Rece:i.pt Numbetr : XX-XXXXXXX
LIBER: M00022534
PAGE: 287
Dist.ric:t: Section: Bloc.k: Lot.:
DBOO 132.00 06.00 010.000

EXAMINED AND CHARG. AS FOLLOWS
Received the Following Feas }E'or Above Instrument

Exempt Exempt
Page/Filing $15 . 00 N'O Ha.ndling $20 . 00 NO
COE $5 . 00 NO N`.{S SR.CHG $15 . 00 NO
Notation $0 . 50 NO Cert.€op:i.es $0 - 00 NO
RPT $60 . 00 No
Fees Pa.id $115.50

THIS PAGE IS A PART OF THE INSTRU'MENT
THIS IS NOT A BILL

JUDITH A. PASCJ\LE
County Clerk, Su:E:Eolk. Count.‘.y

Case 8-17-74291-|as

Number of pages 3

 

 

This document Wil| be public
record. Please remove all

Social St=.»curity Numbers
prior to recording.

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REC"]R['ED
11501-l ifch 21 lCI:EE:l? Fll'l
JUDITH Fl. FF!$C|»T|LE
CLEF-‘}" OF
SUFFDLK E|'.`ll_|HT‘.'
L. MD|]DZE$S~¢|
P '.".E`-?

 

 

 

 

 

 

 

Deed f Mortgage lnstrumen't Deed f Mortgage Tax Starrtp | Recordlrlg l Fl|lng Starnps
3 l sess _
Page x Filing Fee ____ __ [_L:)__'_ w Mortgage Amc. ______
1. Basic Tax
Ha“d""g 2°& 2. Addirtonal Tax
TP-584 ___ ___ Sub Total _____
Notati°n 13 0 SpecJAsslt,
**"" _ _. or
EA-SZ 17 (County} Sub Total 35 ~':-'? 0 spe¢, /Add,
EA-5217 {State) ______ TCl'T. MTG.TAX
- Dual Town ____ Dual County __
R.P.T.S_A. _@.. _ Held forAppointmenc
Comm. of Ed. 5. 00 Transfer Tax
Affidavit _ _ Mans|on Tax
_ The- property covered by this mortgage ls
Cemr‘ed CDPV -- or will be improved by a one or two
15_ 00 ' __ Fan'\ll)¢l dwelling only.
NYS 5urcharge ___, gab Total §2

Other

Grand Total H"D. 3 2

¥ES or NO

|l’ NO, see appropr|ate tax clause on

 

  
 

    

     

 

 

 

 

 

 

 

 

 

 

 

@9 page ll _ _ ___ __ of this lnstrumerlt.
4 | Dist. Oztrtn| Sectlon 132.00 l Block 06,00 | Lot 010.000 5 Comrnuntty Preservacion Fund
Real Propen Cort sideration Amount $
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Agency "~` CPF "I`a.x D‘t.te 5
Verlf`lcatiort Q:;_g;; 1‘;‘>
_._ ' |mproved
6 Satls?a ""“-_"/ ss
REC,ORD B¢ RETURN TO: Vacant Lartd
PEIRSONPATTERSON, LL.P TD
AI IN:RECORDING DEPT.
]3750 OMEGA ROAD TD
DAI_.LAS, TEXAS 75244
TD
Ntail ro; Judich A. Pasca!e, Suffolk Coum:y Ctsrk 7 l Title Company lnformatiort
310 Center ` Drtve, nwerhead, NY 11901 comma P[_.!R`-;ONPM“[.FRSON LLF
www.st.rfl'olkcountyny.gov/l:|erk . | ' ` ' `_ " `
T'f ° “ 1760?10017@

 

 

 

a Suffo||< County Recording & Endorsernent Page

 

This page forms part of the attached

ASSIGNMENT OF MOR`I'GAGE

made

 

by:
J`PMORGAN CHASE BANK. NA

 

TO
LLS__B_ANJ;HAILO_NAL_AS.S_CLCIAIIQN__F

 

(SPEC|FY TYFE OF INSTRUMEN'T)

The premises herein is situated irl
SUFFQLK COUNTY. NEW YO'RK.

lrt the TOWN of SMITHTOW`N
ln the V|LLAGE
or HAMLET of SM]THTOW'N

BOXES 6 THF¢U 8 MUST EE TYPED OR PF||NTED lN BLACK lNK ONLY PRIDR `l`D RECORD|NG 03 FILING.

 

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CaSe 8-17-74291-|38 DOC 8-2 Filed 09/25/17 Entered 09/25/17 10216:55

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assn comm lands ton

Suttlhl:l}ul.'i’.\' TBCH'I ___

Assigl'tml.'ll\ of Morlgng¢ St:l'\d my ani¢es To ¢\sstwet:

Far \'a!u:lblc Coosider:nion. the undo'sigrtcd. IJ.S. BANK N.\I`ll]i\`¢\l. ASSD|Z|A*I'ION. A$ TR|JS'TEE FI.'JR FRDF.IDH.
51 llF,t\lI(Z TRUST ll l'_‘.lricn F'innnriu| Croup. lne. its .\ltornry in l"tt¢t 60 ‘l.i\rinpmn J\unu¢, EP-M\\'-WS}D. 5¢. l’lu|-
.\IN SSlCl'i |Assigrte r) lr_v these presents does assign and set c\rr. without rt:ott\tt'st:l to USRO F ll Ll-'.G:\ lt T`IT|..|~Z Tll.ll!t`l`
10|5-|.1'|\' U.S. BA.\‘L' NAT|C|NAL t\SSt]CIAT|ON. AS LF.GM. TlTl.E TRUF|'BE fill Ll\'lnglloo t\\'¢nur. EF-M¢"l-
ws.tb. Sl. Foul. MN 55||;\7 tanignn) the described monng with eli intcmst. all lluns, nn_\- rights due or to become due
them executed lty GllANl ll. Rl’t\'.\\‘¢\t\'. Sllt\f.li\ l', Rl?.\\'¢\N to ji'MDlth\i\‘ Cl lABE DAN|L. N.A.. Suid mortgage
Hlt¢d: 1!1112|]||1 is recorded in the Srnle o(,‘\‘\'. Counl_t' nl'Sull'olk nn IFM£IT.M Liber MGDD}.|§'|"|' P‘sge B\~l .\l\lOlll\'l': S
GEB.IIUH.DD ASSIGNMI£N'{` i~`l(D.\i’ il'.\‘lll}RGr\N Cl h\£l.i BJ\NR. NM`IONM. r\SSOCl¢\'l'lUN TCI U.S |IMNK
NJ\'|'!DNALJ\SSDCMT|DN. AS Tll.iJ.'t"l‘l-Zi£ |=Dl~l l'l\t()i-`JDl-l-S! REM|C TRUST ll DATED llilt".lilt'i-l RlICORDE|J lCN'llt‘l-l `/
|.l|llER l,MDGBZB]»i l'G lii'.’.il‘i `1'0\\'}~| 0|" SMlTi lTCI\\"N property Mdress: l§ \’ELLOW '|'OF LA.. S.\‘llTl lTOWN. N\'
ll'lh]

'i‘hts destth is not subject to the requirements oI'Sstlion 275 oi'|he Rcal l'rtq\¢rt§' Inu'. because il is nn assignment within
lite secondary mortgage modsct.

IN \\'iTNESS Wl |E‘ll.iiOi-‘. the undersigned mipnm.ionltmst hos caused this imminent lo hec\etul'cd by its proper oll't::r.

|‘.w:ttn-d mt july 3 l . !0| 5
U.S. BANK i\'¢'\'l'lONM. J\li.\iDClr\TlON. r\S 'i'llUST`|iE `FOR l*RDF-IDl'i-$?. RlEMIC'TRUST ll Orion Flnunciol Ciroult. lnt':.

Clu.trlce R. ltsll. Vit:c l'rcsttlcnt

 

St:.te nl"l'¢.‘xas_ Count)' of`l`lll’to.l'il

Cin Jul_\' ]l. llll S. itelhrc me. the undersigned plcrstn'ttt|l_\l appeared Chtul¢s Il. t!nll. Vice hashian personally known
to rt_o: or proved to me on lht: basis of snttsi':tcior,\' evidence to he the indiriduel¢s\ abuse name[s} is (tm'} subscribed to the within
instnrmml md acknowledged tu mc that hdshd¥ht:_\` executed l.ht: sums iit hila"l\\trhht'ir hymlty¢ioi}. that ky ltli¢'h:h‘tlteir
sign :tntrels] on thc instruman the indi »-ttlu:t L{tt], ordic person upon behalf of which the tndi\»‘idu nl'll\] d¢ld~ \'-\\=rl-ll\'l| |l\¢
l:1s\tutncl1l. md that such individual made such ammtn:e bc|'nre lite undersigned in the Cm.tnl}' ofTornnl. Sl.tttc ul' 'l`es,tut.

.»{

Nntul)' public i'_'. Lol`!`crtl'
My commission expires No»'cmhcr JG. ZlilB

 

CaS€ 8-17-74291-|38 DOC 8-2

 

 

 

 

 

 

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SUFFOLK COUNTY CLERK
RECORDS OFFICE
RECORDING PAGE

Type of lnat:umont: ASSIGNMBNT OF HDRTGLBB

Number of Poges: 2
Racaipt Numbar : 15-01#5?63

Section:
132.DU

District:
BBOD

Block:
05.00

-_i.

Filed 09/25/17 Entet’ed 09/25/17 10216:55

EXAMINBD AND CBLRGED ns FOLLOWS
Rscaived the Fdllowing Fees Fur Bhnva Instrumant

ana/Filing $10.00
DOE $5-00
mention $1.00
RPT SBD.DO

Exempt

NG Enndling
N0 N¥S SRCHG
NQ Cert.€opies
NO

Faas Paid

Racorded: 10/21/2015
At: 05:23:13 LH
LIBER: M0002264l
PAGE: 971
LC|‘\'.:
olu,oou
Exampt
$20.00 NG
$15.00 NO
$tt . 00 No
$111.00

THIS PLBE IS 8 FRRT DF THE INSTRUMENT

THIS IS NOT h BILL

JUDITH A. PASCRLE

County Clerk, Suffolk Cnunty

CaS€ 8-17-74291-|38 DOC 8-2

ii
z EE

This document will be public
record. Piease remove ali
Social Security Numbers
prior to recording.

Nrt maker uf psng

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2015 i'.l:t 21 CB:Z.`$:iZ! Fi|‘i
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Det:di Mor'tg.'rge instrument

Dccd l Mot'|gage "i`=.\ Stamp

Recnndirtgt' Filirtg Si:tmps

 

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TOT. MTG `|'AX
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Trat\sfer To.x
Mansinrt Tax

Tht: property covered b_\' this mortgage rs

 

 

 

 

 

 

 

 

 

 

 

 

 

N¥S Surt:ltarge __J_i, _l'.i.i]____ or will be improved by a one or two
Suh Total family dwelling only
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GRAND TOTAL [l' NO. see oppro_priate tax clause on
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6 REC`URD Se RETURN TC|: TD

Urinzt Finnneitt! Group, lnt:.

2860 F.lchnttge lllvt.l.. Smlt.' 1110 'l'D

Snuthlttkl.'. TK TEU¥I

BlT-JZ%-I 115 TD

Mati to: Juotth A. Pasea|e. Suifolx County Clerk `i' Tille Compony lnforrrtation
310 tanker Dn\ie. Rtverhead, N¥ 1 1901 L o. Namr:
www.su¢fo|koounryny,govic|erk
Tille #

 

 

t Suffolk Cottnty Recording & Endorsement Page

 

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lJS. BANK N.\TlONr\l. AHOCI¢\T|UN.¢\S
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ASSIGNMENT OF MQEI§A§E made by

lSPEClFY TVPE DF lNS'l`RUMENT)

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